Case 19-10361 Doc 21 Filed 03/22/19 Entered 03/22/19 10:33:32 Page 1 of 1

PROCEEDING MEMO AND MINUTES OF
THE`. CHAPTER 7 §341 MEETING
Date: 03)'21!19 Time: 01:00pm
l'N RE: CASE NO. 19-10361 Section "B"
CODD, EDWARD SEYMOUR, JR.
CODD, DENISE KOENIG

APP ARANCES:
Fi Debtor l (/Y?h¢or 2 (Spouse in Joint Cases)
Re

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Credir counseling certificate (v)’nied ( )nor tried P- 12»'*"-'-'>
Tax returns received for jet/6 ¢‘ 247{"7 (years) on §z/.! [/ 7

Financial Documents were ( ) retained by Trustee ( ) returned to Debtor(s)

( )De tor(s) Representative
Attorney for Debtor{s)'. ERIC J. DERBES
( ) Debtor(s) Appeared Pro Se
YES( )NO( ) If Pro Se, did anyone assist with preparation?
YBS( )NO( ) If Yes, Debtor has completed pro se form?

 

THF. MEETlNG oF cREmTORS wAs:
(\..;»HELD or
( ) 1191 HELD or
( ) wAs NoT coNcLUDED AND CONTINUED co day of , 2019 an : .m.

YES(l/)‘NO( ) Attorney for debtor(s) filed statement of compensation in accordance with l l U.S.C. 329. ?-,- 13 Pa 14

 

 

 

( )CREDITOR{S): Represented By:
DEBTOR(s) REQUIRED TO :

( )Amend Schedules and Statements within days ofthe §34| (a) Meeting.
( )Other:

 

 

ln accordance with FRBP 600? the Trustee announced intention to abandon any interest in:
Hsehld Goods/Appliancesf}'-`um.
wwin Appw>l MF_LZQZ;M__;»_
F"i’ C.¢_.¢.¢\.. 9‘6/ (.rc) _
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TRACK # Q“ Form Rev. 918/'17

